
82 So.3d 1209 (2012)
MOMBASA a/k/a Mombasa Douglas, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-5723.
District Court of Appeal of Florida, First District.
March 22, 2012.
Mombasa Douglas, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking a belated appeal of the judgment and sentence rendered on April 27, 2011, in Duval County Circuit Court case number 16-2010-CF-007410-AXXX-MA, is granted. Upon issuance of mandate, a copy of this opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal. If petitioner qualifies for the appointment of counsel at public expense, the lower tribunal is directed to appoint counsel to represent *1210 him for purposes of the belated appeal authorized by this opinion.
PADOVANO, LEWIS, and WETHERELL, JJ., concur.
